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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 JUSTIN GUY, individually and on behalf
 of those similarly situated,

         Plaintiff,                                    Case No. 20-12734

 v.                                                    Hon. Mark A. Goldsmith

 ABSOPURE WATER COMPANY, LLC

         Defendant.
                                                /


      ORDER REGARDING BRIEFING ON THE MOTOR CARRIER ACT EXEMPTION
                        AND ANY RULE 50 MOTIONS

         On December 21, 2023, the Court entered an order requiring the parties to file any briefing

 addressing the Motor Carrier Act Exemption (MCA) or any motions under Rule 50 of the Federal

 Rules of Civil Procedure no later than “the earlier of (i) seven calendar days after the transcript is

 made available or (ii) January 24, 2024.” 12/21/2023 Order (Dkt. 236). The Court modifies its

 December 21, 2023 order as follows: the parties are required to file any briefing addressing the

 MCA or Rule 50 motions by January 31, 2024.


 SO ORDERED.

 Dated: January 23, 2024                               s/Mark A. Goldsmith
        Detroit, Michigan                              MARK A. GOLDSMITH
                                                       United States District Judge
